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    NORTON ROSE FULBRIGHT US LLP
    Counsel for the Petitioners
    1301 Avenue of the Americas
    New York, New York 10019
   (212)408-5100
    Andrew Rosenblatt
    Francisco Vazquez

   UNITED STATES BANKRUPTCY COURT
   SOUTHERN DISTRICT OF NEW YORK

                                                          x
   In re

   MADISON ASSET LLC,                                     : In a Case Under Chapter 15
                                                          : of the Bankruptcy Code
   Debtor in a Foreign Proceeding.                        : Case No. 18-
                                                          x
                       VERIFIED PETITION UNDER CHAPTER 15 FOR
                     RECOGNITION OF A FOREIGN MAIN PROCEEDING

           Martin Nicholas John Trott and Christopher James Smith, in their capacit
                                                                                    y as the Joint
   Official Liquidators (the "Petitioners") of Madison Asset LLC (in Official
                                                                              Liquidation) (the
  "Company") and as the duly authorized foreign representatives as defined
                                                                           by section 101(24) of
  title 11 of the United States Code (the "Bankruptcy Code"), through their United
                                                                                   States counsel,
  Norton Rose Fulbright US LLP, respectfully submit this verified petition
                                                                           (the "Verified
  Petition") seeking recognition of a foreign main proceeding. In support thereof
                                                                                  , the Petitioners
  respectfully state as follows:

                                   PRELIMINARY STATEMENT
           1.    The Petitioners, as foreign representatives of the Company, commenced
                                                                                       this
  Chapter 15 case by filing a petition (the "Petition") contemporaneously with, and
                                                                                    accompanied
  by, all certifications, statements, lists and documents required under Chapter 15
                                                                                    and the Federal
  Rules of Bankruptcy Procedure (the "Bankruptcy Rules"). As set forth below
                                                                             and in (i) the
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    Declaration of Marc Kish, Cayman Islands legal counsel to the Petitio
                                                                          ners,               dated September 14,
    2018 (the "Kish Declaration") and (ii) the Memorandum of
                                                             Law in Support of the Verified
    Petition:

                     (a)      a foreign proceeding respecting the Company was duly commenced
                                                                                             in the
                              Cayman Islands;

                    (h)       the Company's registered office is R&1-I Trust Co, Ltd., PO Box
                                                                                              897,
                              Windward 1, Regatta Office Park, Grand Cayman, KY I -1103,
                                                                                            Cayman
                              Islands;

                    (c)      the Company is eligible to be a debtor under section 109(a) ofthe
                             Bankruptcy Code;

                   (d)       the Petitioners are duly authorized to serve as the foreign represe
                                                                                                 ntatives
                             and to petition for relief under Chapter 15 of the Bankruptcy Code in
                             connection with the proceeding respecting the Company pending in
                                                                                                    the
                             Cayman Islands; and

                   (e)       the Petitioners are entitled to the relief requested.

           2.       The Petitioners seek recognition of the Company's liquidation
                                                                                  proceeding (the
  "Cayman Proceeding"), commenced by the filing of a winding
                                                             up petition in accordance with
  Part V of the Cayman Islands Companies Law (the "Companies Law")
                                                                   with the Grand Court of
  the Cayman Islands (the "Cayman Court").'                  On July 4, 2018, pursuant to an order of the

  Cayman Court (the "Winding Up Order"), a copy of which is annexed hereto
                                                                                              as Exhibit "A," Mr.
  Trott was appointed as the Official Liquidator of the Compan
                                                               y. Thereafter, by order dated
  August 17, 2018 (the "August 17 Order"), a copy of which is annexe
                                                                     d hereto as Exhibit "B," Mr.
  Smith was appointed as the Joint Official Liquidator of the Company.
                                                                                           As the Joint Official
  Liquidators of the Company, the Petitioners are responsible for, inter
                                                                                            (i) investigating the



     The Cayman Proceeding is governed by the Companies Law, as
                                                                      supplemented by, among other things, detailed
     rules governing the practice and procedure for insolvencies of compani
                                                                            es that are set out in the Company
     Winding Up Rules 2018 (as revised)(the "CWR").




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    events leading to the Company's failure; (ii) taking possession of and
                                                                           collecting the Company's
    assets; and (iii) realizing and distributing the Company's assets to its creditors
                                                                                       . The Petitioners,
    by virtue of their appointment by the Cayman Court, are subject to the
                                                                           supervision and oversight
    of the Cayman Court with respect to the performance of their duties.

           3.      Pursuant to an order dated September 5, 2018 (the "September 5 Order"),
                                                                                           a copy
   of which is annexed hereto as Exhibit "C," the Cayman Court
                                                               expressly authorized the
   Petitioners to seek recognition of the Cayman Proceeding under Chapter 15
                                                                             of the Bankruptcy
   Code.    Hence, the Petitioners have commenced this Chapter 15 case and seek
                                                                                an order
   substantially in the form of the proposed Order Granting Recognition
                                                                        of a Foreign Main
   Proceeding attached hereto as Exhibit "D"(the "Proposed Order"). In particula
                                                                                 r, the Petitioners
   are requesting all relief afforded automatically upon recognition to a foreign main
                                                                                       proceeding
   pursuant to section 1520 of the Bankruptcy Code.

           4.     There are several reasons the Petitioners are seeking the assistance of this
                                                                                               Court
  and relief under Chapter 15. As discussed in greater detail below, the Petition
                                                                                  ers currently
  possess incomplete information regarding the Company's finances, but are aware
                                                                                 that the
  Company, until recently had, and may still have, assets in the United States in the
                                                                                      form of cash
  and securities held in bank accounts maintained by certain U.S. banks. In furthera
                                                                                     nce of their
  duties, the Petitioners have requested information from the banks concerning those
                                                                                     accounts.
  Certain banks, however, have thus far been unwilling to provide the Petitioners with
                                                                                       complete
  information regarding the accounts, especially in the absence of a court order
                                                                                 compelling
  disclosure. In addition, the Company's sole director has not been cooperative and has
                                                                                        failed to
  respond to the Petitioners' requests for information. In addition to lacking information
                                                                                           about the
  Company's business and financial affairs, the Petitioners are concerned that the Company
                                                                                           's



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       director or other entities may seek, or have already sought, to attach, transfer or
                                                                                           close the
       Company's accounts in the U.S. without the Petitioners' consent in violation of Cayman
                                                                                              law and
       to the detriment of the Company's creditors.               Moreover, certain parties have brought or

       threatened litigation against the Company in the United States. Based on the foregoing
                                                                                              , and in
      furtherance of their duties and their investigation, the Petitioners have concluded that they
                                                                                                               should
      obtain an order granting recognition to the Cayman Proceeding in the United
                                                                                  States.
      Recognition of the Cayman Proceeding will (i) protect whatever assets the Company has
                                                                                            in the
      United States in order to ensure that they are administered under the auspices of the Cayman

      Court for the benefit of all creditors and parties in interest, and (ii) allow the Petitioners to seek

      broad discovery concerning the Company's assets and affairs in the United States.'

             5.       The Petition satisfies all of the requirements set forth in section 1515 of the

      Bankruptcy Code. In addition, the Company is eligible to be a debtor under section 109(a)
                                                                                                of the
      Bankruptcy Code, because it has property in the United States, in the form of an undrawn

      retainer in a bank account held by the Petitioners' U.S. counsel.'

             6.       Based on the foregoing and the reasons described herein, the Petitioners are

  entitled to an order granting recognition to the Cayman Proceeding as a foreign main proceeding

  under Chapter 15 of the Bankruptcy Code.




  2
        Upon recognition of the Cayman Proceeding, the Petitioners anticipate that they will seek discovery from
        certain parties, including certain banks with whom the Company has or has had accounts in the United States,
        under section 1521 of the Bankruptcy Code.

  3
        In addition to the undrawn retainer, the Company may have cash and securities held in banks in the United
        States. The Petitioners have been informed that certain accounts in the Company's name were recently closed,
        and the Petitioners intend to seek discovery in order to ascertain if other accounts exist and remain open.




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                                    JURISDICTION AND VENUE
           7.       This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 1334
                                                                                               and
    157 and the "Amended Standing Order of Reference" of the United States District
                                                                                    Court for the
   Southern District of New York (Preska, Loretta C.J.), dated January 31, 2012. This
                                                                                      is a core
   proceeding pursuant to 28 U.S.C. § 157(b)(2)(P).

          8.       Venue is properly located in this District pursuant to 28 U.S.C. § 1410.

                                           BACKGROUND
   I.     The Company and its Business

          9.       The Company is an exempted limited company incorporated under the laws of the

   Cayman Islands with its registered office at R&1-1 Trust Co, Ltd., PO Box 897,
                                                                                  Windward 1,
   Regatta Office Park, Grand Cayman, KY1-1103, Cayman Islands.

          10.      The Company is an independent investment advisor, and it is registered as an

  Excluded Person under Section 5(2) and Schedule 3 of the Securities Investment Business
                                                                                          Law
  (2015 Revision). The Petitioners understand that the Company did not maintain a physical
                                                                                           office
  in the Cayman Islands or elsewhere. Prior to entry of the Winding Up Order, the Company

  provided financial advice to the "Ibero-American" markets, which included countries located
                                                                                              in
  Latin America.

         The Cayman Proceeding and Related Events

         A.     The Winding Up Petition and the Winding Up Order

         1 1.   The Petitioners understand that in 2015 the Company was engaged to act as a

  custodian and clearing agent for certain securities held by Westwood Capital Markets S.A.

 ("Westwood") and Seguros Sucre S.A. ("Seguros," together with Westwood, the "Petitioning




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    Creditors").4 According to its arrangement with the Petitioning Creditors, the Company
                                                                                           was to
    remit the interest earned on such securities to Westwood biannually.

           12.      It is alleged that as custodian and clearing agent for Westwood in respect of the

    Bonds, the Company established an account with Deutsche Bank AG, New York
                                                                              ("Deutsche
    Bank"). Until July 31, 2017, the Company delivered Deutsche Bank account statement
                                                                                       s for the
   Bonds to Westwood, and until November 2017, the Company (through Deutsche
                                                                             Bank as its
   agent/sub-custodian) made interest payments to Westwood.

           1 3.    In November 2017, the Company failed to make the interest payment that was due

   on the 2025 Bonds to Westwood. The Company also missed the interest payment that
                                                                                    was due
   on the 2024 Bonds in December 2017.

           14.     Following three formal demands for the payment of outstanding interest due on

   the Bonds, the Petitioning Creditors commenced the Cayman Proceedings by filing a petition
                                                                                                             for
   a winding up order with the Cayman Court on March 12, 2018 (the "Winding Up Petition")
                                                                                          .5
          1 5.     The hearing on the Winding Up Petition originally scheduled for May 9, 2018

   was adjourned to July 4, 2018 to allow the Company, which had filed a reply to the Winding
                                                                                              Up
  Petition, to submit further evidence to the Cayman Court. On July 4, 2018, over the Company's

  objection, the Cayman Court entered the Winding Up Order pursuant to which the Company was


     It is alleged by the Petitioning Creditors that the Company was acting as a custodian and clearing
                                                                                                        agent for
     Westwood with respect to Ecuador Global 2024 Bonds with a face value of$6,375,000 (the "2024 Bonds")
                                                                                                             and
     Ecuador Global 2025 Bonds with a face value of $2,000,000 (the "2025 Bonds," together with the 2024
                                                                                                          Bonds,
     the "Bonds").

     On December 27,2017, Westwood served a formal demand on the Company for the payment of the
                                                                                                     outstanding
     interest due on the Bonds. Westwood did not receive a response. On February 28, 2018, the
                                                                                                      Petitioning
     Creditors made a second demand for the payment of outstanding interest due on the Bonds. The
                                                                                                      Petitioning
     Creditors did not receive a response. On March 1, 2018, the Petitioning Creditors made a third
                                                                                                        and final
     demand on the Company for the payment of the outstanding interest due on the I3onds. Following this demand,
     the Company and the Petitioning Creditors agreed to extend the interest payment deadline to March
                                                                                                         8, 2018.
     However, the Company failed to make the interest payment by that date.




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       placed into liquidation and Mr. Trott was appointed as the Official Liquidat
                                                                                    or of the Company.
       Thereafter, the Cayman Court entered the August 17 Order and appointe
                                                                             d Mr. Smith, together
       with Mr. Trott, as the Joint Official Liquidators of the Company. Pursuan
                                                                                 t to the September 5
       Order, the Cayman Court authorized the Petitioners to seek recognit
                                                                           ion and additional relief
       under Chapter 15 ofthe Bankruptcy Code.

               B.       The Petitioners' Investigation

               16.      Under Section 110 of the Companies Law, the Petitioners, as the Joint
                                                                                              Official
      Liquidators of the Company, have a duty to collect, realize and distribut
                                                                                e the assets of the
      Company to its creditors and if there is a surplus, to equity holders. See Kish
                                                                                      Declaration 41111 14,
      23. In addition, under Section 102 of the Companies Law, the Petitioners are
                                                                                   empowered to
      investigate the affairs of the Company and the causes for the failure of its business
                                                                                            . See Kish
      Declaration 'II 23.

              17.      In furtherance of their duties, the Petitioners have made several attempts
                                                                                                  to
      contact the sole director of the Company, Mr. Gustavo Trujillo.C' As of the date
                                                                                       of this Verified
  Petition, Mr. Trujillo has not cooperated with the Petitioners and has failed
                                                                                to provide a
  statement of the Company's affairs or an affidavit in support thereof in violation of
                                                                                                         Mr. Trujillo's
  duties as a director under Cayman law. The Petitioners have also attempted to
                                                                                contact the fora•
  known former employees of the Company. To date, none of those former
                                                                       employees have
  responded to the Petitioners.

             1 8.     Because of the lack of cooperation from Mr. Trujillo and the Company's former

  employees, the Petitioners lack crucial information regarding the Company's assets and
                                                                                         affairs.


  6     Upon information and belief, Mr. Trujillo also holds an ownership interest in Sunset Investmen
                                                                                                       ts Limited, a
        company incorporated in England & Wales, which in turn holds all of the shares of the
                                                                                               Company.




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    Indeed, the Petitioners only have copies of the Company's statutory books (e.g.,
                                                                                     registers) that
    have been provided to them by the Company's former registered office provider
                                                                                  and limited
    records provided by the Company's former Cayman Islands legal counsel,
                                                                           certain service
    providers and financial institutions, and the Company's purported creditors.' Consequen
                                                                                            tly, the
   Petitioners have not been able to completely verify the Company's assets and liabilities
                                                                                                         .
           19.      As of the date of this Verified Petition, the Petitioners have identified accounts in

   the Company's name previously held with Deutsche Bank and Comerica Bank ("Comeri
                                                                                    ca") in
   the United States. The Petitioners have, however, not been able to independently
                                                                                    verify the
   continuing existence of these assets or the Company's interest in such assets.'

          20.       The Petitioners are also aware that other accounts may have been opened in the

   name of the Company at different financial institution in the United States. The Petitioner
                                                                                               s,
   however, have been unable to determine the existence of such accounts, the Company's
                                                                                        interest
   in any such accounts, and in what capacity, if any, the Company operated such accounts.

          C.       Meeting of Creditors

          21.      In accordance with the CWR, Mr. Trott, in his capacity as the Official Liquidator

  of the Company, gave notice of his appointment and the first meeting of creditors to known

  creditors and to the Company's sole shareholder.                 Mr. Trott also published notice of his

  appointment in the Cayman Islands Gazelle, which is the official newspaper of the Cayman

  Island's government, and posted notice on the Company's website.




 '   Several purported creditors of the Company have filed proofs of debt with supporting documentat
                                                                                                             ion
     evidencing monies or financial instruments held by or related to the Company. To date, the Petitioners
                                                                                                            have
     received proofs of debt totaling approximately $45 million from creditors.

     The Petitioners have learned that the Deutsche Bank accounts may have been closed prior to their appointmen
                                                                                                                   t
     as Joint Official Liquidators and that the Comerica account(s) may have been closed since their appointmen
                                                                                                                t.



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              22.    Mr. Trott initially scheduled the first meeting of creditors for August 15, 2018.

    The meeting, however, was adjourned to August 24, 2018 to provide creditors
                                                                                with additional
    time to make themselves known to the Petitioners and attend the meeting of
                                                                               creditors in the
    Cayman Islands.      The key objective of the creditors' meeting was to form a liquidation

   committee (the "Liquidation Committee"). The members of the Liquidation
                                                                           Committee are:
   PanAmerica Capital Group, Inc., Pollock International Ltd., Santiago Gey, Seguros
                                                                                     Sucre S.A.,
   and Westwood Capital Markets S.A. The function of the Liquidation Committee
                                                                               is to consult
   with the Petitioners on behalf of the Company's creditors on various matters related
                                                                                        to the
   Company, including the Petitioners' efforts to identify and recover the Company's assets
                                                                                              for the
   benefit of creditors. See Kish Declaration ¶25.

             D.     Other Actions by the Petitioners

             23.    Following their respective appointments as the Joint Official Liquidators of the

   Company, the Petitioners, in that capacity, have conducted all of their work related to
                                                                                           the
  Cayman Proceeding from the Cayman Islands and under the supervision of the Cayman Court.

  The Petitioners have retained the Ogier law firm as Cayman Islands counsel to advise them
                                                                                            in
  connection with the Cayman Proceeding. Thus far, the bulk of the Petitioners' work has been

  focused on conducting due diligence and investigating the Company's affairs in order to better

  understand the Company's business, its assets and its liabilities. This work has been conducted

  exclusively from the Cayman Islands, and has included numerous communications with the

  Company's former counsel and service providers, creditors, banks and other financial

  institutions. In addition, as described above, the Petitioners have convened a meeting of

  creditors in the Cayman Islands and have had creditors submit proofs of debt in the Cayman

  Islands.




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            24.    The Petitioners have recovered the Company's statutory books from the

    Company's former registered office provider, and are maintaining such books in the Cayman

    Islands. In addition, the Petitioners have taken steps to protect and realize the Company's assets.

    Among other things, the Petitioners have recovered cash and securities totalling approximately

   $46 million from one of the Company's brokers in the United Kingdom and have transferred

   those funds to accounts maintained in the Cayman Islands. The Petitioners will oversee and

   manage distributions to creditors and any litigation involving the Company from the Cayman

   Islands. See Kish Declaration 111 14, 23, and 28.

            25.   As of the date hereof, the Petitioners have engaged in approximately 427 hours in

   the performance of their duties with respect to the Company since the entry of the Winding Up

   Order.

   III.     The Company's Property in the United States

            26.   As of the date hereof, the Company has an interest in an undrawn retainer with

   Norton Rose Fulbright US LLP, the Petitioners' United States counsel. Pursuant to the terms of

   a letter dated September 6, 2018, a copy of which is attached as Exhibit "E," the Petitioners

  deposited $10,000 in a non-interest bearing client trust account with JPMorgan Private Bank in

  New York (the "Client Trust Account"). Such funds remain in the Client Trust Account as of the

  date hereof. Pursuant to the Petitioners' arrangements with their counsel, Norton Rose Fulbright

  US LLP is only permitted to apply the funds in the Client Trust Account to outstanding invoiced

  amounts at the Petitioners' direction.

          27.     In addition, the Company, until recently had, and may still have, cash and

  securities in accounts in its name in several banks in the United States, including Deutsche Bank

  in New York and Comerica. The Petitioners have been unable to verify whether those assets




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    continue to exist, but they believe that the Company may currently have other assets in
                                                                                            accounts
    with other financial institutions in the United States.

    IV.    Litigation Against the Company in the United States

           28.       On July 19, 2018, Insight Securities, Inc. ("Insight") filed a complaint with the

   United States District Court for the Northern District of Illinois against, among others,
                                                                                             the
   Company. Thereafter, Insight filed a notice of voluntary dismissal of such litigation.          In
   addition, the Petitioners have received a separate threat of litigation against the Company in the

   United States. Despite the lack of pending litigation against the Company, the Petitioners are

   concerned that the Company and its assets may be the target of future litigation that could hinder

   the administration of the Cayman Proceeding.

          29.        Absent the relief requested, the Petitioners may be forced to choose between a

   number of unappealing alternatives. If parties in the United States are not enjoined, any assets of

   the Company's estate may be prematurely pieced out and the orderly determination of claims

   against the Company and the fair distribution of the Company's assets in the Cayman Proceeding

  could be severely disrupted. To prevent such a premature piecing-out, the Petitioners may be

  forced to expend finite resources of the Company's estate in defense of attachment and other

  similar actions. Alternatively, the Petitioners could forego any defenses resulting in default

  judgments and affording unfair advantage to sonic parties to the detriment of others. Moreover,

  the Petitioners are concerned that, in the absence of relief under Chapter 15, Company accounts

  that may be held in the U.S. could be closed or transferred without the knowledge or consent of

  the Petitioners.




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                         STATUTORY BASIS FOR RELIEF REQUESTED

           30.     Chapter 15 of the Bankruptcy Code was specifically designed to assist foreign

   representatives, such as the Petitioners, in the performance of their duties. One of the
                                                                                            primary
   objectives of Chapter 15 is the "fair and efficient administration of cross-border insolvencies that

   protects the interests of all creditors, and other interested entities, including the debtor."

   1 1 U.S.C. § 1501(a)(3).

          31.     The Petition satisfies all of the requirements set forth in section 1515 of the

   Bankruptcy Code. In addition, the Company is eligible to be a debtor under section 109(a) of the

   Bankruptcy Code, because it has property in the United States. Moreover, the relief requested

   herein is necessary and is appropriate under Chapter 15 of the Bankruptcy Code. Granting

   recognition to the Cayman Proceeding is consistent with the goals of international cooperation

   and assistance to foreign courts that are embodied in Chapter 15 of the Bankruptcy Code.

          32.     The criteria for recognition under Chapter 15 are satisfied under the facts of this

  case. Relief under Chapter 15 of the Bankruptcy Code is necessary to ensure that the Company

  is liquidated in an orderly manner, that the Petitioners collect and realize on any assets located in

  the United States, and that such assets and the proceeds thereof are protected for the benefit of all

  creditors and distributed under the auspices of the Cayman Court in the Cayman Proceeding.

                                       RELIEF REQUESTED

         33.     The Petitioners, as the foreign representatives of the Company, seek entry of the

  Proposed Order granting the following relief:

                 (a)     recognition of the Cayman Proceeding as a foreign main proceeding, as
                         defined in section 1502(4) of the Bankruptcy Code;

                 (b)     all relief afforded a foreign main proceeding automatically upon
                         recognition pursuant to section 1520 of the Bankruptcy Code;




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                   (c)     a stay of the commencement or continuation of an individual action or
                           proceeding concerning the Company's assets, rights, obligations or
                           liabilities to the extent they havenot been stayed under section 1520(a);

                  (d)      a stay of execution against the debtor's assets to the extent it has not been
                           stayed under section 1520(a);

                  (e)     a suspension of the right to transfer, encumber or otherwise dispose of any
                          assets of the debtor to the extent this right has not been suspended under
                          section 1520(a);

                          entrustment of the administration or realization of the Company's assets
                          within the territorial jurisdiction of the United States tot the Petitioners;
                          and

                 (g)      such other and further relief as this Court may deem just and proper.

           34.    The Petitioners believe that the Cayman Proceeding, with the assistance of this

   Court, offers the best means to liquidate the Company's assets and achieve a global, equitable

   resolution of the'Company's liabilities. Recognition of the Cayman Proceeding as a foreign

   main proceeding under Chapter 15 is critical to achieving this goal for several reasons.

          35.     First, Chapter 15 relief will enjoin any actions against the Company or its assets

   in the United States. If such actions are not stayed, the orderly liquidation of the Company may

   be jeopardized and the Petitioners may be forced to expend resources unnecessarily (i) to defend

   actions against the Company or its assets in the United States, or (ii) to bring actions to enjoin

  the transfer of the Company's assets or to preserve the proceeds of such transfers for the benefit

  ofall creditors and parties in interest.

          36.     Second, the Company may have assets in the United States that will remain

  unknown to the Petitioners absent relief from this Court. Due to the lack of documents and

  information presently available to the Petitioners regarding the Company's assets, it is unclear

  whether, and to what extent, the Company has additional assets in the United States. Chapter 15

  relief will allow the Petitioners to seek discovery that may be essential in determining whether



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      such assets exist and whether it would be appropriate or necessary to commence actions in the

      United States to recover them.'

              37.      Finally, the Petitioners arc tasked with taking possession of and realizing the

      assets of the Company under Cayman law. See Kish Declaration 1123. However, due to the lack

      of cooperation from parties in the United States, the Petitioners require this Court's assistance to

      discharge their duties and responsibilities. Chapter 15 relief would provide the Petitioners' with

      the requisite authority to assert control over the Company's assets in the United States. Absent

      this Court's assistance, there is significant risk that the Petitioners will not be able to fully

      administer the Company's assets to the detriment of creditors.

             38.      Based on the foregoing, the Petitioners concluded that relief under Chapter 15 is

      appropriate and necessary to achieve the goals of the Cayman Proceeding and therefore

   commenced this case.

                         OTHER PROCEEDINGS INVOLVING THE COMPANY

             39.      Pursuant to section 1515 of the Bankruptcy Code, a Chapter 15 must "be

   accompanied by a statement identifying all foreign proceedings (as defined in the Bankruptcy

   Code) with respect to the debtor that are known to the foreign representative." 11 U.S.C.

  §1515(c).

            40.       Other than the Cayman Proceeding, the Petitioners are not aware of any other

  foreign proceeding involving the Company. The Petitioners will promptly inform this Court if




  9     If and when the Petitioners determine that such recovery actions or other claims or causes of action should be
        pursued in the United States for the benefit of the Company's creditors, recognition of the Cayman Proceeding
        may be necessary to allow the Petitioners access to United States courts pursuant to section 1509(b) of the
        Bankruptcy Code.




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    they become aware of any such foreign proceeding, or if they commence a foreign proceeding in

    another jurisdiction to aid in the administration of the Company's assets.

                                                          NOTICE
             41.      Pursuant to section 1517(c) of the Bankruptcy Code, a petition for recognition

   shall be decided at the "earliest possible time." Accordingly, the Petitioners request that this

   Court set the date for the hearing on recognition and to consider the Proposed Order (the

   "Hearing") on October 10, 2018, or as soon thereafter as possible. In addition, the Petitioners

   request that this Court approve the manner of service set forth in the Application for Order

   Limiting Notice, Scheduling Hearing and Specifying the Form and Manner ofService of Notice

   filed contemporaneously herewith (the "Application").

            42.       As soon as the Hearing is scheduled, the Petitioners will cause a copy of the

   Notice of Filing and Hearing on Petition Seeking Recognition of Foreign Main Proceeding

   Pursuant to Chapter 15 of the United States Bankruptcy Code (the "Notice") to be sent to known

   creditors and other parties in interest.1° The Notice shall be sent so as to provide interested

   parties in the United States at least 21 days' notice by mail prior to the Hearing as required by

   Bankruptcy Rule 2002(q). By such notice, all interested parties in the United States will be

   advised of the commencement of the Chapter 15 case, the relief requested by the Verified

  Petition, the central documents filed with the Court respecting the Chapter 15 case, as well as the

  date, place and time of the hearing to consider the Verified Petition and the date, time and




  10
       Copies of the Chapter 15 form petition, this Verified Petition and all other papers filed by the Petitioners in this
       Chapter 15 case, including(i) the List submitted by the Petitioners pursuant to Bankruptcy Rule 1007(a)(4);(ii)
       the Kish Declaration;(iii) the Corporate Ownership Statement required by Bankruptcy Rule 7007.1; and (iv) the
       Memorandum of Law in Support of the Verified Petition will be provided upon request to the Petitioners'
       counsel.




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    manner for lodging a response or motion respecting the Verified Petition
                                                                             and the relief requested
    therein, in accordance with the Bankruptcy Rules and the Local Rules
                                                                            of Bankruptcy Procedure.

                                           CONCLUSION
           WHEREFORE, the Petitioners respectfully request that this Court
                                                                           grant the relief
   requested and such other and further relief as may be just and proper.


   Dated: New York, New York
   September 18, 2018



                                               NORTO ROSE FU                IGHT US LLP


                                               By:
                                                    Andrew Rosenblatt
                                                    Francisco Vazquez
                                                    1301 Avenue ofthe Americas
                                                    New York, New York 10019
                                                   (212)408-5100


                                                      Counselfor the Petitioners




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    NORTON ROSE FULBRIGHT US LLP
    Counsel for the Petitioner
    1301 Avenue ofthe Americas
    New York, New York 10019
   (212)408-5100
    Andrew Rosenblatt
    Francisco Vazquez

   UNITED STATES BANKRUPTCY COURT
   SOUTHERN DISTRICT OF NEW YORK

                                                          x
   In re

   MADISON ASSET LLC,                                     : In a Case Under Chapter 15
                                                          : of the Bankruptcy Code
   Debtor in a Foreign Proceeding.                        : Case No. 18-
                                                          x

                  I, Christopher James Smith, pursuant to 28 U.S.C. § 1746, hereby declare under
   penalty of perjury as follows:

                I am one of the Joint Official Liquidators of Madison Asset LLC (in Official
  Liquidation). I have the full authority to verify this petition on behalf of the Joint
                                                                                         Official
  Liquidators.

                 I have read the foregoing petition, and I am informed and believe that the factual
  allegations contained therein are true and accurate.

                   I declare under penalty of perjury under the laws of the United States of America
  that, to the best of my knowledge,information and belief, the foregoing is true and correct.



                                               Executed this 18th clay of September 2018 in
                                               Cayman Islands



                                               Christopher James Smith, as the Joint Official
                                               Liquidator of Madison Asset LLC(in Official
                                               Liquidation)




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                                 EXHIBIT A
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 IN THE GRAND COURT OF THE CAYMAN ISLANDS

 FINANCIAL SERVICES DIVISION
                                                                                                               FSD No: 36 of 2018(RMJ)
 IN THE MATTER OF THE COMPANIES LAW (2018 REVISION)
 AND IN THE MATTER OF MADISON ASSET LLC


 9 MAY and 4 JULY 2018
 IN OPEN COURT



                                                                     ORDER


                                                                                                                                A rt, ri.c.: CI •
 UPON the hearing of the Winding Up Petition of(1) Westwood Capital Markets S.A. and (2) Seguros Sucre

 S.A. (together, the "Petitioners") dated 12 March 2018, presented against Madison Asset LLC (the

"Company")and the Petitioners' Summons dated 3 July 2018

 AND UPON reading the First Affidavit of Carlos Ortega and Exhibit CO 1 sworn on 9 March 2018,the First

 Affidavit of Dayan Cabrera sworn on 9 March 2018 and Exhibit DAC 1, the First Affidavit of Martin Trott

sworn on 9 March 2018 and Exhibit MT 1, the First Affidavit of Jasen Dawsen and JD 1 sworn on 20 March
2018, the Second Affidavit of Carlos Ortega and Exhibit CO 2 sworn on 4 May 2018, the First Affidavit of
 Beatriz Lorena Romero Alfaro sworn on 17 May 2018, the First Affidavit of Jose Eduardo Ibanez Santos

sworn on 23 May 2018, the First Affidavit of Gustavo Franco and Exhibits GATF 1-3 sworn on 29 May
2018, the Third Affidavit of Carlos Ortega and Exhibit CO 3 sworn on 8 June 2018, the Fourth Affidavit of

Carlos Ortega and Exhibit CO 4 sworn on 28 June 2018 and the Second Affidavit of Dayan Cabrera sworn

on 29 June 2018

AND UPON the Court being satisfied that the form and content of the Petition complies with CWR 0.3,
r.2, that the Petition has been verified in accordance with CWR 0.3, r.3, that the nominated official

liquidator has confirmed his consent to act in accordance with CWR 0.3, r.4, that the Petition has been

presented and served in accordance with CWR 0.3, r.5 and that the hearing of the Petition was advertised

in accordance with CWR 0.3, r.6 in the Cayman Islands Gazette, the Cayman Compass and in all countries

in which the Company is believed to carry on business outside the Islands, namely Argentina, Brazil, Peru,

Paraguay, Venezuela, Mexico, Columbia, Ecuador and Chile, and that no notice of an intention to appear
has been given to the Petitioners' attorneys by any other person

This Order is filed by Campbells, Attorneys-at-Law for Westwood Capital Markets S.A. and Seguros Sucre S.A., whose address for service is Floor 4,
Willow House, Cricket Square, Grand Cayman, KY1-9010, Cayman Islands —Tel: +1(345)949-2648(Ref: JGM/SMT/16683-28017)

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 AND UPON hearing from counsel for the Petitioners in Court at 10am on 4 July 2018

 IT IS ORDERED that:-


 1.          The Petitioners be granted leave pursuant to CWR 0.3, r.2(3) to amend their Winding Up Petition
              in the form exhibited to the Fourth Affidavit of Carlos Ortega sworn on 28 June 2018.


 2.          The Company be wound up by the Court pursuant to Part V of the Companies Law (2018

             Revision).


 3.           Martin Nicholas John Trott of RHSW (Cayman) Limited, Windward 1, Regatta Office Park, Grand
             Cayman, PO Box 897, KY1-1103, Cayman Islands, be appointed as official liquidator ("OL") of the

             Company.


 4.          The OL shall not be required to give security for his appointment.


5.           The OL's remuneration and expenses be paid out of the assets of the Company in accordance with
             Part Ill of the Insolvency Practitioners' Regulations 2018 and Order 20 of the Companies Winding

             U p Rules 2018.


6.           The OL be at liberty to meet all disbursements reasonably incurred in connection with the

             performance of his duties and such payments shall be made as and when they fall due out of the

             assets of the Company and shall be expenses in the liquidation.


7.           The OL be authorised to engage staff(whether or not as employees of the Company)to assist him
             in the performance of his functions.


8.          The OL be at liberty to engage attorneys and other professionally qualified persons to assist him in

            the performance of his duties.


9.          The Petitioners' costs of and incidental to this Petition be paid out of the assets of the Company

            as an expense of the liquidation, to.be'taxed on the indemnity basis if not agreed with the OL.

Dated: 4th July 2018                                                                       "<"
Filed: at41July 2018

                                                                                                        The Honourable Mr Justice McMillan
                                                                                                 e of the Grand Court of the Cayman Islands
                                                                          A NY' z'
                                                                                 qt
This Order is filed by Campbells, Attorneys-at-Law for Westwood Capital Markets S.A.'and Seguros Sucre S.A., whose address for service is Floor 4, Willow House,
Cricket Square, Grand Cayman, KY1-9010, Cayman Islands — Tel: +1(345)949-2648(Ref: JGM/SMT/16683-28017)
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                                 EXHIBIT B
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 IN THE GRAND COURT OF THE CAYMAN ISLANDS

 FINANCIAL SERVICES DIVISION
                                                                               CAUSE NO. FSD 36 OF 2018(RMJ)

 IN THE MATTER OF THE COMPANIES LAW (2018 REVISON)

 AND IN THE MATTER OF MADISON ASSET LLC



                                                         ORDER


 UPON considering the Second Affidavit of Martin Trott, Official Liquidator ("OL") of Madison Asset
 LLC (in Official Liquidation)(the "Company") dated 16 August 2018

 AND UPON considering the Affidavit of Christopher Smith dated 16 August 2018, together with
 exhibit CJS-1

 AND UPON determining that the application is suitable to be dealt with on the papers without the
 need for an oral hearing

 IT IS ORDERED that:


 1      Mr Christopher Smith of RHSW (Cayman) Limited, 2nd Floor, Windward 1, Regatta Office
        Park, PO Box 897, Grand Cayman, KY1-1103, Cayman Islands, be appointed joint official
        liquidator with power to act jointly and severally with the OL (together, the "JOLs").

 2      The requirement for the publication of notices of appointment for each of the JOLs in the
        newspapers in which the Petition was advertised be dispensed with pursuant to CWR Order
        1, rule 4(1B).

 3      The requirement for Mr Smith to advertise his appointment in the Cayman Islands Gazette
        be dispensed with pursuant to CWR Order 5, rule 3(3).

 4      The period for service of the OL's application, the Second Affidavit of Martin Trott and the
        Affidavit of Christopher Smith be abridged.

 5      The OL's costs of and incidental to this application be costs in the liquidation.



            /2
 Dated this     day of August 2018
 Filed this    day of August 2018

                                                                                         The Hon. Mr Justice McMillan
                                                                                            Judge of the Grand Court

                                                             1
           This ORDER is filed by Ogier, Attorneys at Law for the Official Liquidator, whose address for service is:
          89 Nexus Way, Camana Bay, Grand Cayman KY1-9009, Cayman Islands (Ref. 426395.00001/MKS/I0G)
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                                 EXHIBIT C
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 IN THE GRAND COURT OF THE CAYMAN ISLANDS

 FINANCIAL SERVICES DIVISION
                                                                                   CAUSE NO. FSD 36 OF 2018(RMJ)

 IN THE MATTER OF THE COMPANIES LAW (2018 REVISON)

 AND IN THE MATTER OF MADISON ASSET LLC

 IN CHAMBERS

5 SEPTEMBER 2018

BEFORE THE HONOURABLE MR JUSTICE MCMILLAN




                                                           ORDER



UPON the application of the joint official liquidators (the "JOLs") of Madison Asset LLC (in Official
Liquidation)(the "Company") dated 16 August 2018

AND UPON considering the Second Affidavit of Mr Christopher Smith dated 30 August 2018 and the
First Affidavit of Ms Rebecca Findlay dated 4 September 2018

 AND UPON hearing from Counsel for the JOLs and Counsel for Etienne Blake Attorneys-at-Law
("Etienne Blake")

IT IS ORDERED that:


1       The JOLs are permitted to file a petition for recognition of the official liquidation and requests
        for orders granting additional relief under Chapter 15 of the United States Bankruptcy Code
        in the United States.

2       To the extent necessary as a result of a shortfall of general assets available to the insolvency
        estate of the Company, the JOLs be permitted in principle to use assets held on trust by the
        Company to pay such fees and expenses as are incurred towards the administration of such
        trusts, provided that the quantum and apportionment of such fees among trust assets be
        made pursuant to further order of the Court.

3       The JOLs' costs of and incidental to this application be payable out of the assets of the
        Company as an expense of the liquidation.




                                                                1
         This ORDER is filed by Ogier, Attorneys at Law for the Joint Official Liquidators, whose address for service is:
          89 Nexus Way, Camana Bay, Grand Cayman KY1-9009, Cayman Islands (Ref. 426395.00001/MKS/IOG)

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   4         Etienne Blake's costs of this application be payable on a standa
                                                                              rd basis out of the assets of
             the Company as an expense of the liquidation, to be taxed if not
                                                                              agreed.


   Dated this           day of September 2018
   Filed this          day of September 2018

                                                                                        /€4c.C.;
                                                                                            The Hon. Mr Justice McMillan
                                                                                                Judge of the Grand Court




                                                                 2
          This ORDER is filed by Ogier, Attorneys at Law for the Joint
                                                                       Official Liquidators, whose address for service is:
           89 Nexus Way, Camana Bay, Grand Cayman KY1-9009, Cayman
                                                                                Islands (Ref. 426395.00001/MKS/IOG)
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                                 EXHIBIT D
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                            x
In re

MADISON ASSET LLC,                                          : In a Case Under Chapter 15
                                                            : of the Bankruptcy Code

Debtor in a Foreign Proceeding.                             : Case No. 18-
                                                            x


        ORDER GRANTING RECOGNITION OF A FOREIGN MAIN PROCEEDING


         This matter came before the Court upon the verified petition of Martin Nicholas John Trott

and Christopher James Smith, in their capacity as the Joint Official Liquidators (the "Petitioners")

of Madison Asset LLC (in Official Liquidation) (the "Company") and as duly authorized foreign

representatives as defined by section 101(24) of title 11 of the United States Code (the

"Bankruptcy Code") in the above-captioned case, for the entry of an order granting recognition of

a foreign main proceeding (the "Verified Petition").' The Court has reviewed and considered,

among other things: (i) the Verified Petition; (ii) the declaration of Marc Kish, Cayman Islands

legal counsel to the Petitioners; (iii) the Memorandum of Law in Support of the Verified Petition;

and (iv) the arguments presented at the hearing held on October       , 2018. Based on the foregoing,

the Court finds and concludes as follows:

         1        The Petitioners have demonstrated that:

                  (a)     the Company is subject to a foreign proceeding within the meaning of
                          section 101(23) of the Bankruptcy Code;


    Capitalized terms used but not otherwise defined herein shall have the meaning ascribed to
    them in the Verified Petition.




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                  (b)     the Company is subject to a foreign main proceeding within the meaning
                          of section 1502(4) of the Bankruptcy Code;

                  (c)     the Company is eligible to be a debtor under section 109(a) of the
                          Bankruptcy Code;

                  (d)     the Petitioners, as the Joint Official Liquidators of the Company, are
                          foreign representatives, as defined by section 101(24) of the Bankruptcy
                          Code;

                  (e)     the above-captioned Chapter 15 case was properly commenced pursuant to
                          sections 1504 and 1515 of the Bankruptcy Code; and

                          the Chapter 15 Petition satisfies the requirement of section 1515 of the
                          Bankruptcy Code.

         2.       The Petitioners and the Company are entitled to all the relief provided pursuant to

section 1520 of the Bankruptcy Code.

         3.       The Petitioners are entitled to the relief expressly set forth in sections 1521(a) and

(b) that is granted hereby.

         4.       The relief requested is necessary and appropriate, in the interests of the public and

international comity, consistent with the public policy of the United States, warranted pursuant to

sections 105(a), 1507, 1520, 1521, and 1525 of the Bankruptcy Code, necessary to effectuate the

purpose of Chapter 15 of the Bankruptcy Code and to protect the Company and the interests of

its creditors and other parties in interest, and will not cause any hardship to any parties in

interest that is not outweighed by the benefits of granting relief.

         5.       Absent the relief granted hereby, the Company may be subject to the prosecution

of judicial, quasi-judicial, arbitration, administrative or regulatory actions or proceedings against

the Company or the Company's property, thereby interfering with and causing harm to, the

Company, its creditors, and other parties in interest in the Cayman Proceeding and, as a result,

the Company, its creditors and such other parties in interest would suffer irreparable injury for

which there is no adequate remedy at law.



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         6.         Absent the requested relief, the efforts of the Petitioners and the Cayman Court in

managing and effecting the liquidation of the Company in the Cayman Proceeding may be

thwarted by the actions of certain creditors, a result that is antithetical to the purposes of chapter

15 as reflected in section 1501(a) of the Bankruptcy Code.

         7.       Each of the injunctions contained in this Order (i) is within the Court's

jurisdiction, (ii) confers material benefits on, and is in the best interests of, the Company and its

creditors, including without limitation the creditors in the Cayman Proceeding, and (iii) is

important to the overall objectives of the Cayman Proceeding.

         8.       The interest of the public will be served by this Court's granting of the relief

requested by the Petitioners.

         9.       Venue is proper in this District pursuant to 28 U.S.C. § 1410.

         NOW,THEREFORE,IT IS HEREBY:

         ORDERED, that the Verified Petition is granted; and it is further

         ORDERED, that the Cayman Proceeding is granted recognition pursuant to section

1517(a) of the Bankruptcy Code; and it is further

         ORDERED, that the Cayman Proceeding is granted recognition as a foreign main

proceeding pursuant to section 1517(b)(1) of the Bankruptcy Code; and it is further

         ORDERED, that all relief afforded automatically upon recognition of a foreign main

proceeding pursuant to section 1520 of the Bankruptcy Code is granted, including, without

limitation, the protections afforded by section 362 of the Bankruptcy Code with respect to the

Company and property of the Company that is within the territorial jurisdiction of United States;

and it is further




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         ORDERED, that all entities (as that term is defined in section 101(15) of the Bankruptcy

Code), other than the Petitioners and their expressly authorized representatives and agents, are

hereby enjoined from:

                  (a)     commencing or continuing any action or proceeding concerning the
                          Company's assets, rights, obligations or liabilities to the extent such action
                          or proceeding has not been stayed under section 1520(a);

                  (b)     taking or continuing any act to create, perfect, execute, or enforce a lien or
                          other security interest, set-off, against the Company's assets to the extent
                          such act has not been stayed under section 1520(a); and

                  (c)     transferring, encumbering, relinquishing, or otherwise disposing of any
                          property of the Company to any entity (as that term is defined in section
                          101(15) of the Bankruptcy Code) other than the Petitioners; and it is
                          further

         ORDERED, the Petitioners are entrusted with the administration, realization, and

distribution through the Cayman Proceeding of all of the Company's assets located in the

territorial jurisdiction of the United States, pursuant to sections 1521(a)(5) and 1521(b) of the

Bankruptcy Code; and it is further

         ORDERED, that nothing in this Order shall in any respect enjoin any police or regulatory

act of a governmental unit, including a criminal action or proceeding; and it is further

         ORDERED, that the terms and conditions of this Order shall be immediately effective and

enforceable upon its entry; and it is further

         ORDERED, that, pursuant to Rule 7065 of the Federal Rules of Bankruptcy Procedure, the

security provisions of Rule 65(c) of the Federal Rules of Civil Procedure shall be, and the same

hereby are, waived; and it is further

         ORDERED, that this Court shall retain jurisdiction with respect to the enforcement,

amendment or modification of this Order, and requests for any additional relief in the Chapter 15




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case and all adversary proceedings in connection therewith properly commenced and within the

jurisdiction of this Court; and it is further

         ORDERED, that the Petitioners and/or each of their successors, representatives, advisors,

or counsel shall be entitled to the protections contained in sections 306 and 1510 of the

Bankruptcy Code; and it is further

         ORDERED, that this Order shall be served by United States mail, first class postage

prepaid, on or before        , 2018, upon the known parties-in-interest in the United States at the

time of such service; and it is further

         ORDERED,that service in accordance with this Order shall be deemed good and sufficient

service and adequate notice for all purposes.

Dated: New York, New York
       October ,2018




                                                     Honorable
                                                     United States Bankruptcy Judge




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                                 EXHIBIT E
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                                                                                   NORTON ROSE FULBRIGHT
                                                                                   Norton Rose Fulbright US LLP
                                                                                   1301 Avenue of the Americas
                                                                                   New York, NY 10019-6022
                                                                                   United States
                                                                                   Andrew Rosenblatt
                                                                                   Partner
                                                                                   Direct line +1 212 408 5559
                                                                                   andrew.rosenblatt@ nortonrosefulbright.com
     September 6, 2018                                                             Tel +1 212 408 5100
                                                                                   Fax +1 212 541 5369
                                                                                   nortonrosefulbright.com



     Martin Trott and Christopher Smith
     As Joint Official Liquidators of Madison Asset LLC
     RHSW (Cayman) Limited
     PO Box 897
     Windward 1
     Regatta Office Park
     Grand Cayman KY1-1103
     Cayman Islands

                       Re: Madison Asset LLC

     Dear Martin and Chris:

     This is to confirm that a "retainer" in the amount of $10,000 to be remitted by Madison Asset
     LLC ("Madison") to Norton Rose Fulbright US LLP ("NRF") will be held in a non-interest
     bearing escrow account. The funds will be held in this account as property of Madison until
     such time as you, in your capacity as Official Liquidator of Madison (the "Liquidator"), directs
     that the funds should be applied against any outstanding invoice for legal services performed
     by NRF for or on behalf of the Liquidator or such funds are returned to Madison. NRF's wire
     instructions are set forth below:

                            Bank Name:                         Citibank, N.A.
                            Bank Address:                      153 E. 53rd Street
                                                               New York, NY 10022
                            Bank Rep:                          Attn: Farah Rubeo
                            Contact #:                         Tel: 1-212-559-0206
                            Bank Routing #:                    ABA: 021 000 089(Wires sent from US Banks)
                            Bank Routing #:                    Swift: CITIUS33(Wires sent from Foreign Banks)
                            Our Account #:                     37114634
                            Reference:                         25309.002

                       If you have any questions, please do not hesitate to contact me.

     Very truly yogis,


     A drew RtSsenblatt


  Norton Rose Fulbright US LLP is a limited liability partnership registered under the laws of Texas.

  Norton Rose Fulbright US LLP. Norton Rose Fulbright LLP, Norton Rose Fulbright Australia, Norton Rose Fulbright Canada LLP and Norton Rose
  Fulbright South Africa Inc are separate legal entities and all of them are members of Norton Rose Fulbright Verein, a Swiss verein. Norton Rose
  Fulbright Verein helps coordinate the activities of the members but does not itself provide legal services to clients. Details of each entity, with certain
  regulatory information, are available at nortonrosefulbright.com.
